         Case 2:19-cv-14737-GGG Document 26 Filed 11/17/21 Page 1 of 1




                            UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF LOUISIANA
 MICHAEL ALLEN                                                           CIVIL ACTION
 VERSUS                                                                  NO. 19-14737
 DARREL VANNOY, WARDEN                                                   SECTION “T”(4)
 LOUISIANA STATE PENITENTIARY


                                            ORDER

       The Court, having considered the complaint, the record, the applicable law, the Report and

Recommendation of the Chief United States Magistrate Judge, and the objection to the Chief

Magistrate Judge’s Report and Recommendation filed by Michael Allen, hereby overrules the

objection, approves the Report and Recommendation of the Chief United States Magistrate Judge,

and adopts such as its opinion in this matter for the reasons assigned below.

       In his objection, Petitioner reiterates his assertions that the state court filed to timely

provide notice of the judgment, which thereby precluded him from timely seeking further review,

and that he is otherwise entitled to equitable tolling under post-AEDPA jurisprudence because he

diligently attempted to check on the status of his petition in the state court. The Chief Magistrate

Judge, however, thoroughly considered Petitioner’s assertions and concluded his federal filing was

untimely pursuant to the AEDPA’s limitation period in § 2254 and he was not entitled to equitable

tolling or any other exception to his untimely filing. This Court finds no error of fact or law in the

Chief Magistrate Judge’s reasoning, and therefore overrules Petitioner’s objection. Accordingly,

       IT IS ORDERED that Michael Allen’s petition for issuance of a writ of habeas corpus

filed pursuant to 28 U.S.C. § 2254 be DISMISSED WITH PREJUDICE as time-barred.

               New Orleans, Louisiana, this 17th
                                            ____ day of _________________________,
                                                               November            2021.


                                                       ___________________________________
                                                        UNITED STATES DISTRICT JUDGE
